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                    UNITED STATES DISTRICT COURT
                               FOR THE
                         DISTRICT OF VERMONT

UNIVERSITY OF VERMONT         )
STUDENTS FOR JUSTICE IN       )
PALESTINE,                    )
                              )
     Plaintiff,               )
                              )
          v.                  )          Case No. 2:24-cv-978
                              )
THE UNIVERSITY OF VERMONT     )
AND STATE AGRICULTURAL        )
COLLEGE; and LINA BALCOM,     )
UVM Director of Student Life )
and JEROME BUDOMO, UVM        )
Associate Director of Student )
Life, each in their Official )
Capacities,                   )
                              )
     Defendants.              )

                           OPINION AND ORDER

     Plaintiff University of Vermont Students for Justice in

Palestine (“UVMSJP”) brings this action claiming Defendants

University of Vermont and State Agricultural College (“UVM” or

“University”), UVM Director of Student Life Lina Balcom, and UVM

Associate Director of Student Life Jerome Budomo violated its

constitutional rights after members of the group participated in

an on-campus demonstration.      Defendants contend that the

temporary suspension of UVMSJP for allegedly violating

University rules and policies, together with the ensuing

administrative investigation process, did not violate the
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group’s rights.      Pending before the Court are UVMSJP’s motion

for a preliminary injunction and Defendants’ motion to dismiss.

     For the reasons set forth below, the motion to dismiss (ECF

No. 9) is granted and the motion for a preliminary injunction

(ECF No. 2) is denied as moot.

                             Factual Background

     UVMSJP is a student organization founded in 2011 for the

purpose of advocating for justice for the Palestinian people.

UVM is a public university.        On April 28, 2024, UVMSJP began

participating in what would become a ten-day demonstration

opposing the war in Gaza.       The demonstration took place on UVM’s

Andrew Harris Commons, also referred to as the Davis Center

Green.

     The Verified Complaint alleges that the demonstration began

with approximately 50 students and about a dozen tents.               The

event reportedly included teach-ins, lectures, and group

discussions.     The Verified Complaint also alleges that

demonstrators had trained de-escalators available to calm

confrontations and prevent violence between demonstrators and

counter-demonstrators.       UVMSJP was not a formal sponsor of the

demonstration, but did collaborate with other participants and

encouraged participation.

     At the time of the demonstration, UVMSJP was a Recognized

Student Organization.        Defendants submit, and Plaintiff does not

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dispute, that Recognized Student Organizations are granted

certain opportunities, including the ability to use the name of

the University and other indicia of association, use of

University buildings and grounds without a rental charge, and

the opportunity to obtain voicemail and email accounts through

the University.        UVM’s Operating Procedure provides that

officers, leaders, and members of a Recognized Student

Organization are “expected to know and abide by all University

policies,” and may be held collectively responsible with the

organization when violations occur.           ECF No. 1-3 at 2.        The

University Operating Procedure also provides a “detailed

process” for addressing such violations.             Id.

       The alleged violations at issue here center on the use of

the Davis Center Green.         According to the Complaint, the UVM

Chief of Compliance and Safety informed demonstrators on April

28, 2024 – the first day of the demonstration – that tents being

used were a violation of University guidelines.               On May 1, 2024,

UVM Dean of Students David Nestor sent a letter (“Notice”) to

the UVMSJP President notifying the group that the University had

“received information about alleged conduct by [UVMSJP] that, if

true, would violate University policies.”             ECF No. 1-2 at 2.

The letter informed the group that it was under investigation

for:

       ●      Using the Davis Center Green to the exclusion of

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               others for non-commercial solicitation without a
               reservation;

        ●      Disruption of scheduled tabling and other reservation
               of space outside the Davis Center;

        ●      Disruption of normal student engagement and/or
               academic work patterns;

        ●      Setting up tents (“temporary structure”) on the Davis
               Center Green without a permit and declining to remove
               them when requested;

        ●      Overnight occupancy of a temporary structure;

        ●      Encouraging and facilitating the violation of policy
               by other students.

Id. 1

        The Notice cited various UVM policies, including the

Student Organization Misconduct Investigation and Resolution

policy; the Posting and Solicitation policy; the Temporary

Structures policy; the Facilities and Grounds Use for Events and

Activities policy; the “Free Expression; Campus Speakers;

Response to Disruption” policy; and the Code of Student Conduct.

Id. at 2-3.        The Notice also explained that the University was

taking action because of “concerning behavior and encouragement


1   The Verified Complaint includes several references to the
University’s charges against an individual student. ECF No. 1
at 10-11, 14, ¶¶ 52-55, 72. The findings made with reference to
that student did not necessarily carry over to the actions of
other members of UVMSJP. In fact, UVM specifically found that
the charged student was unable to control the actions of others.
Id. at 14, ¶ 72. The Court therefore declines to infer that
those findings apply equally to the charges brought against
UVMSJP as a group.


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of willful violation of university policies following repeated

notice and requests to cease,” which “had a direct impact on the

safety of students and university operations.”            Id. at 4.      The

Notice stated that the University was “suspending all operations

of [UVMSJP] on an interim basis, effective immediately,”

although members of the group could meet to address the

forthcoming internal investigation.       Id.    That investigation was

to be led by Defendant Jerome Budomo, UVM’s Associate Director

of Student Life.

     The Verified Complaint alleges that the tents in question

were voluntarily removed at the conclusion of the demonstration

on May 7-8, 2024.    During the summer of 2024, Defendant Lina

Balcom, UVM Director of Student Life, sent emails to UVMSJP

explaining that the investigation had not yet commenced.                 UVMSJP

alleges that the delay was a pretext to continue the interim

suspension.

     On August 12, 2024, UVMSJP’s attorney, together with the

group’s faculty advisor, Helen Scott, requested to meet with

Director of Student Life Balcom for a re-evaluation of the

interim suspension.    On August 15, 2024, UVM’s General Counsel

allegedly communicated that UVMSJP’s options were to either

participate in the investigation process or to engage in an

administrative conference.      The Verified Complaint alleges that

the administrative conference requires the student organization

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to admit to the violation and accept responsibility in lieu of

proceeding to a formal investigation.         UVMSJP declined to make

any such admission, and thus declined to participate in an

administrative conference.       In a letter dated August 21, 2024,

UVMSJP’s counsel allegedly informed the University that the

group also declined to participate in the investigation process.

      UVMSJP commenced this litigation on September 9, 2024,

asserting six causes of action.       Count I alleges the Notice from

UVM was an unconstitutional prior restraint of UVMSJP’s First

Amendment rights to speak, associate, peaceably assemble, and

use the same campus resources as other student organizations.

Count I also claims a lack of proper notice.           Count II alleges

that “defendants have no constitutionally permissible basis

either on an interim or permanent basis to sanction UVMSJP by

suspension of its First Amendment rights.”           ECF No. 1 at 9, ¶

46.   Count III claims that UVM’s policies are contradictory,

provide University officials with unbridled discretion, and were

waived because the University allowed the demonstration and did

not forcibly remove the tents.       Count IV alleges that putting up

tents constitutes symbolic speech, that no notice of trespass

was ever issued, and that UVM’s temporary structure policy

violated UVMSJP’s First Amendment speech and Fourteenth

Amendment due process rights.       Count V claims that UVM failed to

provide sufficient notice to students of the applicable

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administrative rules, thereby again violating UVMSJP’s due

process rights.    Count VI asserts that barring attorneys from

the investigative process violates UVMSJP’s First Amendment

rights of freedom of association.        The University’s

investigation process does not allow an attorney to be present

or to speak on the subject’s behalf, although the Director of

Student Life may permit a lawyer to be present when related

criminal charges are filed and pending.

     The Verified Complaint contends that because UVM’s policies

were ambiguous and contradictory, allowed unbridled discretion,

and lacked narrow tailoring, students were entitled to

“disregard any prior permit requirements for the demonstrations

and rallies,” ECF No. 1 at 12, ¶ 61, as well as permit

requirements pertaining to tents, id. at 14, ¶ 71.            Defendants

submit that these allegations implicitly concede Plaintiff’s

violations of University policies.

     Defendants now move to dismiss all claims, arguing that

there has been no prior restraint; that UVMSJP lacks standing to

bring Counts II-V because there has been no decision regarding

policy violations; that the University’s policies are

constitutional; and that there has been no due process




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violation. 2   The motion is opposed.       Also pending before the

Court is UVMSJP’s motion for a preliminary injunction.

                                 Discussion

I.   Motion to Dismiss Standard

     Defendants move to dismiss pursuant to Federal Rule of

Civil Procedure 12(b), arguing that UVMSJP has failed to state a

claim upon which relief can be granted and that the group lacks

standing because its claims are not ripe.           On a motion to

dismiss for failure to state a claim, filed under Rule 12(b)(6),

a court accepts as true the facts alleged in the complaint and

draws all reasonable inferences in the plaintiff’s favor.                  Burch

v. Pioneer Credit Recovery, Inc., 551 F.3d 122, 124 (2d Cir.

2008).    To survive dismissal, a complaint must allege sufficient

facts to state a plausible claim.          Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007).       A claim is plausible when the

plaintiff pleads facts to support the reasonable inference that

the defendant has acted unlawfully.          Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009).

     Standing and ripeness are addressed under Federal Rule of

Civil Procedure 12(b)(1).       See Sunrise Detox V, LLC v. City of




2   Defendants’ motion also argues for the application of
qualified immunity if UVMSJP is seeking damages. UVMSJP’s
opposition memorandum makes clear that it is not seeking
damages. Consequently, the Court will not address the question
of qualified immunity.
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White Plains, 769 F.3d 118, 121 (2d. Cir. 2014) (conducting a

ripeness inquiry pursuant to Rule 12(b)(1)); All. for Env’t

Renewal, Inc. v. Pyramid Crossgates Co., 436 F.3d 82, 88 n.6 (2d

Cir. 2006) (“[T]he proper procedural route [for a standing

challenge] is a motion under Rule 12(b)(1).”).             The standards

for dismissal under Rules 12(b)(1) and 12(b)(6) are, for the

most part, substantively identical, see Lerner v. Fleet Bank,

N.A., 318 F.3d 113, 128 (2d Cir. 2003), with the important

exception that the party invoking the jurisdiction of the court

bears the burden of proof in a Rule 12(b)(1) motion, while the

defendant bears the burden of proof in a 12(b)(6) motion.

Thompson v. Cnty. of Franklin, 15 F.3d 245, 249 (2d Cir. 1994).

      Where, as here, a motion to dismiss requires a court to

address arguments raised pursuant to both Rules 12(b)(1) and

12(b)(6), “the court should consider the Rule 12(b)(1) challenge

first since if it must dismiss the complaint for lack of subject

matter jurisdiction, the accompanying defenses and objections

become moot and do not need to be determined.”             Rhulen Agency,

Inc. v. Alabama Ins. Guar. Ass’n, 896 F. 2d 674, 678 (2d Cir.

1990) (quoting 5 C. Wright and A. Miller, Federal Practice and

Procedure, § 1350, p. 548 (1969)).

II.   Standing

      Defendants’ standing argument is limited to Counts II

through V.   Count II asserts that Defendants cannot lawfully

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sanction UVMSJP on either an interim or a permanent basis.

Count III, IV, and V similarly object to any form of sanction.

The motion to dismiss submits that UVMSJP has not been found

responsible for any policy violations, and that there has thus

been no actual injury.      Defendants also contend that, even if

the Court finds an actual case or controversy, it would not be

prudent to address the Complaint before the University’s

administrative process has been completed.

     Standing “is the threshold question in every federal case,

determining the power of the court to entertain the suit.”

Warth v. Seldin, 422 U.S. 490, 498 (1975).          To establish

standing, UVMSJP must satisfy three requirements.            First, it

“must have suffered an injury in fact — an invasion of a legally

protected interest which is (a) concrete and particularized and

(b) actual or imminent, not conjectural or hypothetical.”                 Lujan

v. Defenders of Wildlife, 504 U.S. 555, 560 (1992) (citations

and internal quotation marks omitted).         Second, “there must be a

causal connection between the injury and the conduct complained

of — the injury has to be fairly traceable to the challenged

action of the defendant.”       Id. (alterations adopted) (internal

quotation marks omitted).       Third, “it must be likely, as opposed

to merely speculative, that the injury will be redressed by a

favorable decision.”      Id.



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     Here, the Court finds that UVMSJP has adequately

demonstrated standing.     While the motion to dismiss focuses on a

permanent sanction, the Verified Complaint alleges that the

interim suspension constitutes its own injury.           The Court agrees

with UVMSJP’s assertion of injury, as the group has been

temporarily barred from acting as a Recognized Student

Organization except within the parameters set by the University.

The alleged restrictions on the group’s activities are the

result of the interim suspension and are both concrete and

actual.   Furthermore, Defendants cite no binding authority for

the proposition that a student group must exhaust its

administrative remedies before seeking injunctive and/or

declaratory relief in federal court.       Dismissal for lack of

standing to bring Counts II-V is therefore not warranted.

III. Prior Restraint Claim

     The Verified Complaint alleges in Count I that Defendants’

actions constitute an unlawful “prior restraint” of UVMSJP’s

First Amendment rights.     Defendants contend that the sole

restraint has been the interim suspension of a group that is

alleged to have violated neutral and reasonable University

policies.   Defendants also assert that non-recognition of a

student group does not prohibit its members from either speaking

or associating.   Finally, Defendants argue that the restraint



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was based upon conduct, not the content of any speech or

message, and is therefore not actionable.

      There are “two traditional types of prior restraint: (1)

preventing the printed publication of disfavored information,

and (2) a facially-neutral law that sets up an administrative

apparatus with the power and discretion to weed out disfavored

expression before it occurs.”        Citizens United v. Schneiderman,

882 F.3d 374, 386-87 (2d Cir. 2018) (citations omitted).               The

first type of prior restraint is content-based; the second is

content-neutral.    Id.    at 387.   “[T]he presumption against [the

constitutional validity of a] prior restraint is best reserved

for situations that closely resemble these two clear cases.”

Id.

      This case arguably resembles the second prior restraint

category: a facially-neutral rule or policy that could be used

to bar certain speech or expression.         In addressing the law of

prior restraint, both parties claim support from two seminal

cases: Healy v. James, 408 U.S. 169 (1972) and Christian Legal

Society Chapter of the University of California, Hastings

College of the Law v. Martinez, 561 U.S. 661 (2010).              In Healy,

the Supreme Court considered whether a college violated the

plaintiffs’ free association rights when it denied recognition

of their student group.      Ultimately, the Court remanded the case

for reconsideration of the plaintiffs’ claims, as it was unable

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to “conclude from this record that petitioners were willing to

abide by reasonable campus rules and regulations.”            Healy, 408

U.S. at 194; see also id. at 189 (noting that “[a]ssociational

activities need not be tolerated where they infringe reasonable

campus rules”).   Unlike this case, the student group in Healy

had never been recognized by the school.          Relevant to this case,

Healy noted that recognition of a student group, “once accorded,

may be withdrawn or suspended if petitioners fail to respect

campus law.”   Id. at 194 n.24.

     More recently, the Supreme Court considered a case in which

Hastings Law School denied Registered Student Organization

status to a Christian student group (“CLS”) that excluded

students based on religion and sexual orientation.            Martinez,

561 U.S. at 672-73.       CLS argued that the school’s action

impaired its First Amendment rights to free speech, expressive

association, and free exercise of religion by requiring it to

accept members who did not share the organization’s core

beliefs.   Id. at 668.      The Supreme Court found no constitutional

violation, holding that by requiring CLS to comply with all

school policies and regulations, Hastings was merely imposing a

“reasonable, viewpoint-neutral condition on access to the

student-organization forum,” while CLS was seeking “not parity

with other organizations, but a preferential exemption from

Hastings’ [nondiscrimination] policy.”         Id. at 669.

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      The Court finds that both Healy and Martinez support

Defendants’ contention that a university may take action against

a student organization when the university’s rules have been

violated.    Whether those actions are constitutional, however,

will largely depend on both the lawfulness of the underlying

rules and the extent to which the university’s actions were in

concert with those rules.      The Court must therefore proceed to

UVMSJP’s additional constitutional challenges.

IV.   Constitutionality of UVM’s Policies and Actions

      A.    Limited Public Forum

      The Verified Complaint challenges the constitutionality

both of Defendants’ actions and of the policies and procedures

being applied.    Defendants submit that those policies and

procedures must be viewed, as in Martinez, under a “reasonable,

viewpoint-neutral” standard.      Id.    The “reasonable, viewpoint-

neutral” standard applies to First Amendment questions arising

in a limited public forum.      See Tyler v. City of Kingston, 74

F.4th 57, 63 (2d Cir. 2023).

      “[A] limited public forum is created when the government

opens a non-public forum for public expression, but limits

expressive activity to certain kinds of speakers or the

discussion of particular subjects.”        Hotel Emps. & Rest. Emps.

Union, Loc. 100 of New York, N.Y. & Vicinity, AFL CIO v. City of

New York Dep’t of Parks & Recreation, 311 F.3d 534, 552 (2d Cir.

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2002).    Here, there are two possible forums.                The first is the

forum comprised of student groups.            Granting Registered Student

Organization status is naturally limited to students registered

at the University.       Such status allows groups to access non-

public resources, including free use of the University’s

buildings and grounds.        The second is the Andrew Harris Commons

itself.

     Martinez determined that a public educational institution

considering a group’s Registered Student Organization status fit

“comfortably within the limited-public-forum category.”                    561

U.S. at 682.     Indeed, courts generally consider a university

facility or resource to be a limited public forum.                  See, e.g.,

Hotel Emps. & Rest. Emps. Union, Loc. 100 of New York, N.Y. &

Vicinity, AFL CIO, 311 F.3d at 545 (“Examples of limited public

fora include state university meeting facilities opened for

student groups ....”); Gerlich v. Leath, 861 F.3d 697, 705 (8th

Cir. 2017) (concluding that university “created a limited public

forum when it made its trademarks available for student

organizations to use if they abided by certain conditions”).

Correspondingly, “First Amendment free-speech and freedom-of-

expressive-association challenges related to regulation of

student-run clubs . . . [are reviewed] under the Supreme Court’s

limited-public-forum doctrine.”            Fellowship of Christian

Athletes v. San Jose Unified Sch. Dist. Bd. of Educ., 82 F.4th

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664, 711 (9th Cir. 2023) (Forrest, J., concurring) (citing

Martinez, 561 U.S. at 679-80); see also Rosenberger v. Rector &

Visitors of the Univ. of Virginia, 515 U.S. 819, 829–31 (1995)

(applying limited public forum standard to restrictions on

student activity fund available to student groups that complied

with certain procedural requirements).        The Court therefore

applies the reasonable, viewpoint-neutral standard to the

University’s actions with respect to UVMSJP.             See Martinez, 561

U.S. at 682.

     The site of the demonstration, the Andrew Harris Commons,

also constitutes a limited public forum.         It is owned by the

University and, like all parts of campus, is “principally

intended for use by University programs, activities, and

operations.”   ECF No. 1-4 at 2; see Am. C.L. Union v. Mote, 423

F.3d 438, 444 (4th Cir. 2005) (“Contrary to plaintiff’s

arguments, the campus is not akin to a public street, park, or

theater, but instead is an institute of higher learning that is

devoted to its mission of public education.”).            While both

students and the general public may apply to use the Commons,

both are limited by the University’s rules with respect to such

use, with additional rules applying to the public.             ECF No. 1-4

at 3-4 (requiring non-University users to sign a contract, show

proof of liability insurance, and provide a security deposit).

Conditional access by the general public does not impact the

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Andrew Harris Commons’ status as a limited public forum.             See

R.O. ex rel. Ochshorn v. Ithaca City Sch. Dist., 645 F.3d 533,

540 (2d Cir. 2011) (holding that a student newspaper was a

limited public forum where there was “no evidence that the

school permitted indiscriminate use by the general public”)

(internal quotation marks and citation omitted); Mote, 423 F.3d

at 444 (“By implementing its policy the University made the

campus a limited public forum.”).

     B.   Reasonable and Viewpoint-Neutral

     Having established that the forum in question was, as a

matter of law, a limited public forum, the Court must next

consider whether Defendants’ policies and actions were

reasonable.   The Court’s “inquiry is shaped by the educational

context in which it arises.”     Martinez, 561 U.S. at 685.

Martinez noted that although courts “owe no deference to

universities” when considering whether they have “exceeded

constitutional constraints,” the Supreme Court has also

“cautioned courts in various contexts to resist substituting

their own notions of sound educational policy for those of the

school authorities which they review.”        Id. at 686 (quotation

marks and citation omitted).     Thus, “[w]ith appropriate regard

for school administrators’ judgment,” the Court undertakes the

necessary review.   Id. at 687.



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     The alleged infractions listed in the Notice to UVMSJP

begin with the use of the Andrew Harris Commons (“Davis Center

Green”) without a reservation.      The University’s Posting and

Solicitation Policy requires student organizations to register

with University Events Services for exclusive use of campus

facilities.    Both exclusive and casual (non-exclusive) uses are

“subject to restrictions designed to protect safety, or to avoid

disruption of customary campus activities.”            ECF No. 1-5 at 3.

Registration decisions are required to be “granted on a

viewpoint-neutral basis” and “are subject to applicable time,

place, and manner restrictions.”         Id.

     “[U]nder appropriate circumstances, a permitting

requirement governing the use of a public open space can further

a legitimate interest in the regulation of competing uses of

that space.”   Berger v. City of Seattle, 569 F.3d 1029, 1041

(9th Cir. 2009); see Bowman v. White, 444 F.3d 967, 981 (8th

Cir. 2006) (recognizing that university had a legitimate

interest in “ensuring public safety, minimizing the disruption

of the educational setting, and coordinating the use of limited

space by multiple enities”).     Moreover, the University “has a

significant interest in ensuring safety and order on campus,

especially where the [property in question] is sited at a highly

trafficked area of the campus.”         Bloedorn v. Grube, 631 F.3d

1218, 1238 (11th Cir. 2011); see also Healy, 408 U.S. at 184

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(“[A] college has a legitimate interest in preventing disruption

on the campus.”).      In keeping with these principles, the Court

finds that UVM’s registration process, as well as its rules for

casual users, serve reasonable University goals of ensuring

public safety, minimizing disruption, and coordinating the use

of limited space.

     Other alleged violations cited in the Notice, including

disruption of normal student engagement or work patterns, also

fit within those same legitimate and reasonable University

goals.    The use of tents, and in particular sleeping in the

tents overnight, allegedly violated the University’s Temporary

Structures policy.       The policy itself states that “[w]hile

temporary structures do not necessarily express thoughts or

opinions, in many cases their purpose is to represent particular

viewpoints symbolically.”          ECF No. 1-9 at 2.         The policy

expresses the University’s commitment to “an atmosphere of free

expression and open dialogue,” and recognizes that this

commitment “must be balanced with other concerns as well, such

as the safety of our students and employees; the condition and

appearance of our campus; and the prudent use of our financial

and human resources.”        Id.    “[O]vernight occupancy of a

temporary structure” such as a tent is expressly prohibited

“[d]ue to safety and security concerns.”             Id. at 3.



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     Again, the Court finds the University’s concerns

reasonable.   The policy in question addressed two well-

established institutional interests: safety and security.                See,

e.g., Bloedorn, 631 F.3d at 1238; Bowman, 444 F.3d at 981.

Allowing students to sleep outside on University property gives

rise to vulnerabilities that are not present when students are

housed in secure dormitories.     The Temporary Structures policy

addresses those vulnerabilities and furthers the community’s

strong interest in maintaining student safety.

     In Martinez, the Supreme Court also considered the

“substantial alternative channels that remain open for

[UVMSJP’s] communication to take place.”         561 U.S. at 690.        The

Court explained that “[i]f restrictions on access to a limited

public forum are viewpoint discriminatory, the ability of a

group to exist outside the forum would not cure the

constitutional shortcoming.”     Id.    When the restrictions “are

viewpoint neutral, [the Supreme Court’s] decisions have counted

it significant that other available avenues for the group to

exercise its First Amendment rights lessen the burden created by

those barriers.”   Id.

     Martinez recognized that although “CLS could not take

advantage of [Recognized Student Organization]-specific methods

of communication, . . . the advent of electronic media and

social-networking sites reduces the importance of those

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channels.”    Id. at 690-91.     The same is true here, as UVMSJP is

not barred from using the myriad forms of social and other media

available to express its message.         In short, given the many

alternative forms of accessible communication, UVMSJP cannot

“maintain that nonrecognition of a student organization is

equivalent to prohibiting its members from speaking.”              Id. at

691.

       The Court turns next to the question of viewpoint

neutrality.    Unlike Martinez, where the law school’s decision

touched upon CLS’s core principles with respect to membership,

the decision in this case was based on conduct that bore no

direct relationship to UVMSJP’s message regarding the war in

Gaza.    The group’s actions triggered policies, such as the

Posting and Solicitation policy, based upon conduct.              In turn,

the University responded to alleged violations of those policies

and, despite unsupported allegations of pretext (discussed

below), not to the messages or motivations underlying the

group’s speech.     See, e.g., Martinez, 561 U.S. at 696 (“The Law

School’s policy aims at the act of rejecting would-be group

members without reference to the reasons motivating that

behavior.”).

       Moreover, the UVM policies do not, as UVMSJP contends,

allow unfettered discretion.       See Southworth v. Bd. of Regents

of the Univ. of Wis., 307 F.3d 566, 570 (7th Cir. 2002) (holding

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that “the prohibition against unbridled discretion is a

component of the viewpoint-neutrality requirement”) (cited in

Amidon v. Student Ass’n of State Univ. of New York at Albany,

508 F.3d 94, 103 (2d Cir. 2007)).       Count III of the Verified

Complaint alleges that a request to use campus grounds for a

demonstration must be submitted to the Dean of Students, and

that the University policy provides “no standards” for granting

or withholding permission.     ECF No. 1 at 11, ¶ 59.          Those

requests, however, are handled pursuant to the Facilities and

Grounds Use for Events and Activities policy which, as noted

above, requires consideration of several factors including “the

safety of persons and security of property.”             ECF No. 1-4 at 2.

Count IV similarly alleges that the Temporary Structures policy

lacks applicable standards for awarding permits.             That policy,

too, requires consideration of “the safety of our students and

employees.”   ECF No. 1-9 at 2.

     Safety and security determinations necessarily invite the

use of discretion, yet that discretion must be exercised in the

strict context of those criteria.       See, e.g., Ramsey v. Squires,

879 F. Supp. 270, 282 (W.D.N.Y. 1995) (holding that prison

officials did not have unfettered discretion to impose

administrative confinement based upon “safety, security, or

order of the facility”), aff’d, 71 F.3d 405 (2d Cir. 1995).

UVMSJP relies heavily on Shuttlesworth v. City of Birmingham,

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wherein a parade permit could be denied based upon the City

Commissioners’ “own ideas of ‘public welfare, peace, safety,

health, decency, good order, morals or convenience.’”                394 U.S.

147, 151 (1969).     Such broad criteria are easily distinguished

from the narrow safety and security determinations at issue

here.   See id.; see also City of Lakewood v. Plain Dealer Publ’g

Co., 486 U.S. 750, 769–70 (1988) (finding discretion to be

impermissibly unfettered where ordinance allowed Mayor to deny a

license for “such other terms and conditions deemed necessary”);

MacDonald v. Safir, 206 F.3d 183, 192-93 (2d Cir. 2000)

(remanding facial challenge to ordinance allowing Commissioner

to deny a permit if he believed the parade “will be disorderly

in character or tend to disturb the public peace,” and to grant

a permit for any “occasion[] of extraordinary public interest,

not annual or customary”).

     The Supreme Court held in Healy that “while a college has a

legitimate interest in preventing disruption on the campus,

which under circumstances requiring the safeguarding of that

interest may justify such restraint, a ‘heavy burden’ rests on

the college to demonstrate the appropriateness of that action.”

408 U.S. at 184.     Here, the interim suspension of UVMSJP meets

the University’s burden given the multiple alleged violations of

rules and policies, and the reasonable and viewpoint-neutral

responses to those allegations.           See id. at 194 n.24 (a

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University may suspend an organization that “fail[s] to respect

campus law” without violating the First Amendment).            Defendants’

actions, and the underlying policies giving rise to those

actions, did not violate UVMSJP’s constitutional rights.

     C.   Pretext Claim

     The Verified Complaint claims Defendants’ actions “have

been part of [their] hostile, chilling, content-based animus and

bias against pro-Palestinian speakers.”        ECF No. 1 at 6, ¶ 28.

For support, UVMSJP cites the cancellation of a scheduled

appearance by a Palestinian poet several months before the

demonstration at issue here.     The appearance was allegedly

cancelled after pro-Israel groups claimed the poet’s works are

anti-Semitic.   Id., ¶¶ 29-32.    The Verified Complaint also

references other protests and demonstrations, id. at 5-6, ¶ 25,

and claims the University failed to take action against

demonstrators who supported Israeli policies, id. at 7, ¶ 33.

     While the Court accepts the factual allegations in a

complaint as true, the law does not require it to also accept a

plaintiff’s legal conclusions.      See Iqbal, 556 U.S. at 678.

Here, the allegations in the Verified Complaint do not support a

plausible pretext claim.     Briefly stated, the incidents cited by

UVMSJP are readily distinguished from the events in this case.

And, as discussed above, the University’s actions were taken

pursuant to rules and policies that focus on conduct.

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     The Verified Complaint references a series of previous

protests: a 2017 student march into the UVM President’s office;

a 2018 protest that overtook classrooms and blocked a public

street at rush hour; a 2019 student walkout and subsequent

demonstration on the Andrew Harris Commons; a blockage of a

public street in 2019; a 2021 student protest of the

University’s response to allegations of sexual assault on

campus; a 2021 protest and march that involved University

spaces, including open greens and a campus building, while at

times blocking traffic; and the annual 4/20 protests that

occurred prior to the legalization of marijuana in Vermont.               ECF

No. 1 at 5-6, ¶ 25.       The Verified Complaint does not allege that

any of these events involved a Recognized Student Organization

violating a University rule or policy.         The Verified Complaint

also does not claim that any of the cited events involved a

multi-day demonstration, a lack of proper registration, or the

overnight use of tents.

     UVM cannot regulate public streets, and cannot discipline

persons or groups not affiliated with the University.             With

respect to an alleged preference for pro-Israel protesters,

there is no claim that such protesters engaged any of the

conduct, or even similar conduct, addressed in the University’s

Notice to UVMSJP.   Accordingly, the allegations in the Verified



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Complaint do not plausibly support the assertion that these

other events offer evidence of pretext.

     As discussed above, the Verified Complaint also contends

that UVM’s policies grant University officials “unbridled

discretion,” thus presumably allowing for pretextual decision-

making.   The Court addressed the safety and security questions

previously.    The Facilities and Grounds Use for Events and

Activities policy also includes a non-discrimination provision,

requiring compliance with all University policies related to

affirmative action and equal opportunity.         ECF No. 1-4 at 4.

This latter provision, rather than allowing unfettered

discretion, requires administrators to adhere to the

University’s rules and values with respect to discrimination.

If dissatisfied, an applicant may file an appeal.           Id. at 5.

Such guardrails on official conduct are sufficient to satisfy

constitutional concerns.     See Perry v. McDonald, 280 F.3d 159,

171 (2d Cir. 2001).

     D.    Due Process Claims

     Count V of the Verified Complaint alleges that the

University failed to provide fair notice of the conduct that was

forbidden, adequate alternatives for expression, or an

opportunity “to cure any such constitutionally unprotected

activities.”    ECF No. 1 at 15, ¶ 80.     UVMSJP also contends that

the students had “an objective good faith basis to believe that

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their activities were lawful and/or that permit requirements had

been waived.”   Id. at 16, ¶ 81.        Count VI alleges that denying

assistance of counsel in the investigation process further

violates the group’s due process rights.

     A procedural due process claim requires two elements: “(1)

the existence of a property or liberty interest that was

deprived and (2) deprivation of that interest without due

process.”   Bryant v. N.Y. State Educ. Dept., 692 F.3d 202, 218

(2d Cir. 2012).   UVMSJP claims that it lacked notice of the

relevant rules and policies, as well as the factual bases for

the charges being brought.     There is no dispute that the

University’s rules and restrictions were available to the

student body.   Whether students knew the rules, despite their

ready availability, does not factor into the due process

analysis.   See Wilson v. Johnson, 247 F. App’x 620, 626–27 (6th

Cir. 2007) (“the University is under no obligation to ensure

every person has ‘specific’ notice of its policies ....               Its

policies were published and generally available to anyone

interested in learning of them.”); cf. Lambert v. California,

355 U.S. 225, 228 (1957) (noting that the “[t]he rule that

‘ignorance of the law will not excuse’ is deep in our law ....”)

(quoting Shevlin–Carpenter Co. v. Minnesota, 218 U.S. 57, 68

(1910)).



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      As to notice generally, the Student Organization Misconduct

and Resolution policy fully describes the suspension procedure

implemented in this case.      The policy specifically allows for an

interim suspension of a student organization if the action in

question constitutes “a threat to the safety, security, or

welfare of the University community and/or an obstruction to

accomplishing the University’s lawful mission.”            ECF No. 1-3 at

4.   While UVMSJP argues that UVM failed to allow an immediate

challenge to the suspension, the policy provides that any

interim action can be re-evaluated throughout the investigative

process “as additional information is learned.”            Id.   UVMSJP

also objects to the lack of a pre-deprivation hearing, though

none is required when the safety and welfare of the community is

in question.   See Gilbert v. Homar, 520 U.S. 924, 930 (1997)

(“This Court has recognized, on many occasions, that where a

State must act quickly, or where it would be impractical to

provide predeprivation process, postdeprivation process

satisfies the requirements of the Due Process Clause.”).

      The Verified Complaint further claims that UVM waived its

right to enforce its policies by, in part, failing to remove the

tents or provide a notice of trespass.         UVM issued the Notice to

UVMSJP midway through the multi-day demonstration.            UVMSJP was

notified of the alleged violations, including the facts

underlying those violations (e.g. overnight occupancy of a

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temporary structure), and had the opportunity to address its

conduct as it deemed appropriate.           UVMSJP offers no authority

for the proposition that the University’s failure to take

further steps, including removing the tents by force, waived its

right to pursue the remedies available in the Student

Organization Misconduct and Resolution policy.

       Count V also alleges that UVMSJP was allowed to disregard

University policies because its members believed in good faith

that their actions were lawful.           For support, UVMSJP cites

Wagner Seed Company v. Daggett, 800 F.2d 310, 315-16 (2d Cir.

1986), in which the Second Circuit addressed the question of

monetary penalties assessed by the opposing party while

litigation is pending.       The court determined that “[o]ne way of

ensuring that a plaintiff is not faced with such

unconstitutional penalties is to require that no penalty be

imposed where a challenge was brought in good faith.”                Id. at

315.    Monetary penalties are not at issue here.

       UVMSJP further cites Shuttlesworth, which held that when

faced with an unconstitutional law requiring a permit or license

prior to engaging in expressive activity, a party “may ignore

[the law] and engage with impunity in the exercise of the right

of free expression for which the law purports to require a

license.”    394 U.S. at 151.     That holding does not apply here,

in part because UVMSJP claims it did not have notice of, and

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thus could not have ignored, the University’s demonstration

policies.   Furthermore, the Verified Complaint makes clear that

the demonstration continued beyond the May 1, 2024 Notice, and

in particular that the tents in question were taken down at the

demonstration’s natural end point.

     Count VI claims that Defendants are violating UVMSJP’s due

process rights by barring its attorney from appearing in the

investigation process.     “[T]he weight of authority is against

representation by counsel at disciplinary hearings, unless the

student is also facing criminal charges stemming from the

incident in question.”     Gorman v. Univ. of Rhode Island, 837

F.2d 7, 16 (1st Cir. 1988); see Wasson v. Trowbridge, 382 F.2d

807, 812 (2d Cir. 1967).     The University’s practice is in

keeping with that “weight of authority,” Gorman, 837 F.2d at 16,

and nothing in the University’s rules prevents UVMSJP from

consulting with counsel generally.

     Finally, in August 2024 UVMSJP reportedly informed the

University that it would no longer participate in the

investigation process, thus voluntarily removing itself from the

process being afforded.     For each of these reasons, the Court

finds no plausible due process claim.

V.   Leave to Amend

     In its opposition to the motion to dismiss, Plaintiff

proffers new facts that are not in the Verified Complaint.               The

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Court does not consider such facts when presented with a motion

under Rule 12.   See McCarthy v. Dun & Bradstreet Corp., 482 F.3d

184, 191 (2d Cir. 2007).     The Court also expresses no opinion as

to whether the proffered facts would have changed its conclusion

on the matters discussed above.         Nonetheless, Plaintiff may wish

to present additional facts and argue that such facts render its

claims plausible.   The Court therefore grants Plaintiff 30 days

in which to file a motion to amend the Verified Complaint.

                               Conclusion

     For the reasons set forth above, Defendants’ motion to

dismiss (ECF No. 9) is granted, and UVMSJP’s motion for a

preliminary injunction (ECF No. 2) is denied as moot. 3             Plaintiff

may file a motion to amend its Verified Complaint within 30 days

of this Opinion and Order.     Failure to file such a motion will

result in dismissal of the case and entry of final judgment.



     DATED at Burlington, this 20th day of December 2024.



                                          /s/ William K. Sessions III
                                          William K. Sessions III
                                          U.S. District Court Judge




3   If the Court grants the motion to amend the Verified
Complaint, UVMSJP may again move for preliminary injunctive
relief.
